Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.1 Page 1 of 16




 1 Kevin F. Ruf (136901)
   GLANCY PRONGAY & MURRAY LLP
 2
   1925 Century Park East, Suite 2100
 3 Los Angeles, California 90067
   Telephone: (310) 201-9150
 4
   Facsimile: (310) 201-9160
 5 Email: info@glancylaw.com
 6 Lee Albert (pro hac vice forthcoming)
 7 Garth Spencer (pro hac vice forthcoming)
   GLANCY PRONGAY & MURRAY LLP
 8 230 Park Avenue, Suite 530
 9 New York, New York 10169
   Telephone: (212) 682-5340
10 Facsimile: (212) 884-0988
11 Email: lalbert@glancylaw.com
   Email: gspencer@glancylaw.com
12
13 Attorneys for Plaintiffs Park 101 LLC and
   Louisiana Purchase LLC dba Louisiana
14 Purchase SD
15                     UNITED STATES DISTRICT COURT
16                   SOUTHERN DISTRICT OF CALIFORNIA
17   PARK 101 LLC and LOUISIANA
     PURCHASE LLC dba LOUISIANA                                 '20CV0972 AJB BLM
                                               Civil Action No. ______________
18
     PURCHASE SD,
19
                       Plaintiffs,             CLASS ACTION COMPLAINT
20         vs.
21
     LIBERTY MUTUAL GROUP INC.,
22                                             JURY TRIAL DEMANDED
     LIBERTY MUTUAL INSURANCE
23   COMPANY, AMERICAN FIRE AND
     CASUALTY COMPANY, and OHIO
24   SECURITY INSURANCE
25   COMPANY,

26                     Defendants.
27
28

                             CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.2 Page 2 of 16




 1         Plaintiffs Park 101 LLC and Louisiana Purchase LLC dba Louisiana Purchase
 2 SD (“Plaintiffs”), individually and on behalf of the members of Class and the
 3 California Sub-Class, bring this action against Defendants Liberty Mutual Group Inc.,
 4 Liberty Mutual Insurance Company, American Fire and Casualty Company, and Ohio
 5 Security Insurance Company (“Liberty Mutual” or “Defendants”) and allege as
 6 follows:
 7                              NATURE OF THE ACTION
 8         1.     This action arises from Defendants’ wrongful denial of insurance claims
 9 made to recover losses related to the COVID-19 pandemic and the related
10 government-issued closure orders.
11         2.     Plaintiffs bring this action on behalf of themselves and on behalf of a
12 proposed class consisting of all persons and entities in the United States insured under
13 a Liberty Mutual policy for business income, extra expense, or civil authority
14 coverage, who suffered a covered loss related to the COVID-19 pandemic and the
15 related government-issued closure orders, which loss was denied by Defendants.
16                             JURISDICTION AND VENUE
17         3.     This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a). The amount
18 in controversy exceeds $75,000 and there is diversity of citizenship between the
19 parties.
20         4.     This Court also has jurisdiction pursuant to 28 U.S.C. § 1332(d). This is
21 a class action on behalf of more than 100 class members, in which the amount in
22 controversy exceeds $5,000,000 and there is diversity of citizenship between the
23 parties.
24         5.     Venue is proper in this district under 28 U.S.C. § 1391(b)(2). A
25 substantial part of the events giving rise to this action occurred in this District.
26         6.     Defendants regularly conduct business in this District. Defendants
27 Liberty Mutual Insurance Company, American Fire and Casualty Company, and Ohio
28
                                         -1-
                               CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.3 Page 3 of 16




 1 Security Insurance Company are licensed insurance companies in the State of
 2 California.
 3                                        PARTIES
 4        7.     Plaintiff Park 101 LLC is a California Limited Liability Company, and
 5 operates the Park 101 restaurant in Carlsbad, California, with its principal place of
 6 business in San Diego County.
 7        8.     Plaintiff Louisiana Purchase LLC dba Louisiana Purchase SD
 8 (“Louisiana Purchase LLC”) is a California Limited Liability Company, and operates
 9 the Louisiana Purchase restaurant in San Diego, California, with its principal place of
10 business in San Diego County.
11        9.     Defendant Liberty Mutual Group Inc. (“Liberty Mutual Group”) is a
12 Massachusetts corporation headquartered at 175 Berkeley Street, Boston,
13 Massachusetts 02116. Although Liberty Mutual Group is not licensed as an insurance
14 company in the State of California, many of its subsidiaries are so licensed, including
15 the other Defendants. At all times hereto, Liberty Mutual Group was doing substantial
16 business in the State of California.
17        10.    Defendant Liberty Mutual Insurance Company (“Liberty Mutual Co.”)
18 is a Massachusetts corporation headquartered at 175 Berkeley Street, Boston,
19 Massachusetts 02116. Defendant Liberty Mutual Insurance Company is a wholly
20 owned subsidiary of Defendant Liberty Mutual Group Inc. At all times hereto,
21 Liberty Mutual Co. was doing substantial business in the State of California.
22        11.     Defendants Liberty Mutual Group and Liberty Mutual Co. are
23 heretofore known as “Liberty Ins.”
24        12.    Defendant American Fire and Casualty Company is a New Hampshire
25 corporation headquartered at 175 Berkeley Street, Boston, Massachusetts 02116.
26 Defendant American Fire and Casualty Company is a wholly owned subsidiary of
27 Defendant Liberty Mutual Group Inc. Defendant American Fire and Casualty
28
                                        -2-
                              CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.4 Page 4 of 16




 1 Company is a party to the insurance policy of Plaintiff Louisiana Purchase LLC that
 2 is at issue in this action.
 3         13.    Defendant Ohio Security Insurance Company is a New Hampshire
 4 corporation headquartered at 175 Berkeley Street, Boston, Massachusetts 02116.
 5 Defendant Ohio Security Insurance Company is a wholly owned subsidiary of
 6 Defendant Liberty Mutual Group Inc. Defendant Ohio Security Insurance Company
 7 is a party to the insurance policy of Plaintiff Park 101 LLC that is at issue in this
 8 action.
 9         14.    Defendants Liberty Ins., American Fire and Casualty Company, and
10 Ohio Security Insurance Company are collectively referred to as “Defendants.”
11         15.    Defendants and their Liberty Mutual affiliates operate the fourth largest
12 property and casualty insurance business in the United States, writing over $35 billion
13 in premiums in 2019.
14                               FACTUAL BACKGROUND
15 A.      The Parties’ Insurance Contracts
16         16.    Plaintiff Park 101 LLC entered a contract for insurance with the
17 Defendants, with policy number BKA (20) 57 77 96 64, for the effective dates May
18 21, 2019 through May 21, 2020.
19         17.    Plaintiff Louisiana Purchase LLC entered a contract for insurance with
20 the Defendants, with policy number BKS (21) 59 56 86 10, for the effective dates
21 March 5, 2020 through March 5, 2021.
22         18.    These insurance policies use standard form language used by Defendants
23 in many their insurance policies with insureds nationwide.
24         19.    These insurance policies incorporate a document titled BUSINESS
25 INCOME (AND EXTRA EXPENSE) COVERAGE FORM, which is identified by
26 the control number CP 00 30 04 02. This document uses standard form language used
27 by Defendants in many their insurance policies with insureds nationwide.
28
                                           -3-
                                 CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.5 Page 5 of 16




 1         20.   Plaintiffs’ insurance policies provide coverage for the insured’s loss of
 2 business income due to suspension of operations, stating in part “We will pay for the
 3 actual loss of Business Income you sustain due to the necessary ‘suspension’ of your
 4 ‘operations’ during the ‘period of restoration’.”
 5         21.   Plaintiffs’ insurance policies also provide coverage for extra expense
 6 incurred as a result of a suspension of operations, stating in part:
 7         We will pay Extra Expense (other than the expense to repair or replace
           property) to:
 8
 9         (1) Avoid or minimize the "suspension" of business and to continue
           operations at the described premises or at replacement premises or
10
           temporary locations, including relocation expenses and costs to equip
11         and operate the replacement location or temporary location.
12
           (2) Minimize the "suspension" of business if you cannot continue
13         "operations".
14
           We will also pay Extra Expense to repair or replace property, but only
15         to the extent it reduces the amount of loss that otherwise would have
16         been payable under this Coverage Form.

17         22.   Plaintiffs’ insurance policies also provide coverage for loss of business
18 income or extra expense arising from any action of a civil authority that prohibits
19 access to the insured property, stating in part:
20         We will pay for the actual loss of Business Income you sustain and
           necessary Extra Expense caused by action of civil authority that
21         prohibits access to the described premises due to direct physical loss
22         of or damage to property, other than at the described premises, caused
           by or resulting from any Covered Cause of Loss.
23
24 B.      The COVID-19 Pandemic
25         23.   The novel coronavirus SARS-CoV-2 was first detected in humans in late
26 2019 in Wuhan, China.
27         24.   The SARS-CoV-2 virus is highly contagious in humans.
28
                                         -4-
                               CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.6 Page 6 of 16




 1        25.    The SARS-CoV-2 virus can be spread through direct person-to-person
 2 contact; through aerosolized droplets expelled through coughing, speaking or
 3 sneezing; or through contact with a virus-contaminated surface such as a table,
 4 doorknob, or handrail.
 5        26.    The disease caused by the SARS-CoV-2 virus is called COVID-19.
 6        27.    COVID-19 can produce severe symptoms including respiratory failure
 7 and death.
 8        28.    The SARS-CoV-2 virus has spread rapidly throughout the world and the
 9 United States.
10        29.    The first confirmed COVID-19 case in the United States was recorded
11 on January 20, 2020 in Washington State.
12        30.    The first confirmed COVID-19 case in California was recorded on
13 January 26, 2020.
14        31.    The first confirmed COVID-19 case in San Diego County was recorded
15 on March 7, 2020.
16        32.    As of March 15, 2020, there were over 165,000 confirmed cases
17 worldwide and 6,500 deaths. By May 4, 2020 there were over 3.5 million confirmed
18 cases worldwide and 248,000 deaths.
19        33.    As of March 15, 2020, there were over 3,600 confirmed cases in the
20 United States and 73 deaths. By May 4, 2020 there were over 1.1 million confirmed
21 cases in the U.S. and 65,000 deaths.
22        34.    As of March 15, 2020, there were 335 confirmed cases in California and
23 6 deaths. By May 2, 2020 there were 53,616 confirmed cases in California and 2,215
24 deaths.
25        35.    As of March 15, 2020, there were 25 confirmed cases in San Diego
26 County. By May 2, 2020 there were 3,927 confirmed cases in San Diego County and
27 139 deaths.
28
                                       -5-
                             CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.7 Page 7 of 16




 1        36.    Actual numbers of cases and deaths in all regions are believed to be much
 2 higher than confirmed and reported figures, due in part to limited testing availability
 3 and the prevalence of asymptomatic or mild infections.
 4        37.    The SARS-CoV-2 virus is believed to have spread throughout the United
 5 States earlier than the first reported confirmed cases, due in part to limited testing
 6 availability and the prevalence of asymptomatic or mild infections.
 7 C.     Government-Issued Closure Orders Relating to the Pandemic
 8        38.    To slow the spread of the COVID-19 pandemic, governmental
 9 authorities worldwide and at all levels throughout the United States have implemented
10 unprecedented restrictions on individuals’ movements and business activities.
11        39.    On January 30, 2020 the World Health Organization declared the SARS-
12 CoV-2 outbreak to be an international public health emergency.
13        40.    On January 31, 2020 the U.S. Department of Health and Human Services
14 declared the SARS-CoV-2 outbreak to be a public health emergency.
15        41.    On March 4, 2020 California Governor Gavin Newsom declared a state
16 of emergency relating to COVID-19.
17        42.    On March 12, 2020 California Governor Newsom issued Executive
18 Order N-25-20, ordering California residents to follow guidance from state and local
19 public health officials including social distancing measures.
20        43.    On March 12, 2020 San Diego Mayor Kevin Faulconer declared a local
21 emergency in response to the COVID-19 outbreak.
22        44.    On March 16, 2020 San Diego Mayor Faulconer issued Executive Order
23 No. 2020-1 prohibiting all gatherings of 50 or more people and discouraging all social
24 gatherings of any size. This order also closed all bars in San Diego, and prohibited
25 restaurants from serving dine-in customers.
26        45.    On March 19, 2020 California Governor Gavin Newsom issued
27 Executive Order N-33-20, ordering California residents to stay at home, and closing
28 non-essential businesses such as dine-in restaurants and bars.
                                        -6-
                              CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.8 Page 8 of 16




 1        46.    Similar closure measures to the foregoing have been enacted by state and
 2 local governments throughout the United States.
 3 D.     Impact on Plaintiffs’ Businesses and Plaintiffs’ Insurance Claims
 4        47.    As a result of the COVID-19 pandemic and the related and government-
 5 issued closure orders, Plaintiffs were forced to temporarily close their businesses or
 6 restrict these businesses to delivery or serving take-out only customers.
 7        48.    As a result of the COVID-19 pandemic and the related and government
 8 issued closure orders, Plaintiffs have suffered a loss of business income.
 9        49.    Numerous businesses nationwide were similarly forced to suspend or
10 reduce their operations as a result of the COVID-19 pandemic and the related and
11 government-issued closure orders, and suffered loss of business income as a result.
12        50.    The COVID-19 pandemic and the closure of a business by the State of
13 California, City of San Diego, or other governmental authority, constitute direct
14 physical loss or damage under the insurance policies.
15        51.    Plaintiffs’ inability to operate in the pre-pandemic ordinary course of
16 business constitutes direct physical loss or damage under the insurance policies.
17        52.    Certain terms of Plaintiffs’ insurance policies purport to contain
18 purported virus exclusions.
19        53.    The policies’ purported virus exclusion is inapplicable to Plaintiffs’
20 claims and does not bar Plaintiffs’ recovery.
21        54.    Defendants drafted these insurance policies, which are adhesion
22 contracts.
23        55.    Defendants never intended the purported virus exclusion to apply in
24 circumstances similar to the COVID-19 pandemic and related government-issued
25 closure orders.
26        56.    The Plaintiffs never understood the purported virus exclusion to apply in
27 circumstances similar to the COVID-19 pandemic and related government-issued
28 closure orders.
                                        -7-
                              CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.9 Page 9 of 16




 1         57.   The purported virus exclusion is void against public policy.
 2         58.   Plaintiffs’ losses were not proximately caused by the SARS-CoV-2
 3 virus, but rather by the government-issued closure orders.
 4         59.   Although insurance companies including Defendants often include in
 5 their policies exclusions specifically denying recovery for losses arising from a
 6 pandemic, Defendants did not include such pandemic exclusions in Plaintiffs’
 7 insurance policies.
 8         60.   Any ambiguity in Plaintiffs’ insurance policies as to whether the losses
 9 alleged herein are covered under the policies must be construed in favor of coverage.
10 The policy terms were drafted exclusively by Defendants.
11         61.   At all relevant times Plaintiffs have paid all required premiums on their
12 insurance policies and have otherwise performed all of their obligations thereunder.
13 E.      Defendants’ Denial of Plaintiffs’ Insurance Claims
14         62.   As a result of the foregoing alleged facts, Plaintiff Park 101 LLC
15 submitted a claim to Defendants for coverage under its insurance policy. Defendants
16 denied that claim.
17         63.   As a result of the foregoing alleged facts, Plaintiff Louisiana Purchase
18 LLC submitted a claim to Defendants for coverage under its insurance policy.
19 Defendants denied that claim.
20         64.   Based on information and belief, Defendants have denied and/or intend
21 to deny coverage to their other insureds nationwide in a similar manner for covered
22 losses similar to those suffered by Plaintiffs.
23                          CLASS ACTION ALLEGATIONS
24         65.   Plaintiffs bring this action as a class action pursuant to Rule 23 of the
25 Federal Rules of Civil Procedure on behalf of a proposed class consisting of:
26         All persons and entities in the United States insured under a Liberty
           Mutual policy for business income, extra expense, or civil authority
27
           coverage, who suffered a covered loss related to the COVID-19
28
                                         -8-
                               CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.10 Page 10 of 16




  1         pandemic and the related government-issued closure orders, which
            loss was denied by Defendants.
  2
  3 Excluded from the Class are Defendants; entities under common control with the
  4 Defendants; the directors and officers of the Defendants and members of their
  5 immediate families; and the legal representatives, heirs, successors, or assigns of the
  6 foregoing.
  7         66.   Plaintiffs also assert claims on behalf of a proposed California Sub-Class
  8 consisting of:
  9         All persons and entities in California insured under a Liberty Mutual
            policy for business income, extra expense, or civil authority coverage,
 10
            who suffered a covered loss related to the COVID-19 pandemic and
 11         the related government-issued closure orders, which loss was denied
            by Defendants.
 12
 13 Excluded from the California Sub-Class are Defendants; entities under common
 14 control with the Defendants; the directors and officers of the Defendants and members
 15 of their immediate families; and the legal representatives, heirs, successors, or assigns
 16 of the foregoing.
 17         67.   The members of the Class are so numerous that joinder of all members
 18 is impracticable. Defendants and their affiliates operate the fourth largest property and
 19 casualty insurance business in the United States, writing over $35 billion in premiums
 20 in 2019. Plaintiffs believe the Class has at least thousands of members.
 21         68.   There is a well-defined community of interest in the questions of law and
 22 fact involved in this case. Questions of law and fact common to all members of the
 23 Class which predominate over questions that may affect individual Class members
 24 include:
 25               a)     Whether the Defendants breached the express terms of their
 26         insurance policy contracts by denying claims for covered losses;
 27               b)     Whether the Defendants breached the covenant of good faith and
 28         fair dealing by evading the spirit of the insurance policies;
                                          -9-
                                CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.11 Page 11 of 16




  1               c)     Whether the COVID-19 pandemic and related government-issued
  2         closure orders give rise to covered losses under Defendants’ policies for
  3         business income coverage;
  4               d)     Whether the COVID-19 pandemic and related government-issued
  5         closure orders give rise to covered losses under Defendants’ policies for extra
  6         expense coverage;
  7               e)     Whether the COVID-19 pandemic and related government-issued
  8         closure orders give rise to covered losses under Defendants’ policies for civil
  9         authority coverage;
 10               f)     Whether Defendants’ denials of Plaintiffs’ and California Sub-
 11         Class members’ claims constitute unfair, unlawful, or fraudulent business
 12         practices; and
 13               g)     The extent of damages sustained by Class members and the
 14         appropriate measure of damages.
 15         69.   Plaintiffs’ claims are typical of those of the Class because Plaintiffs and
 16 the Class sustained damages from Defendants’ identical breaches. Based on
 17 information and belief Defendants’ insurance policies employ uniform terms and
 18 conditions, and Defendants interpret these policies in a uniform manner.
 19         70.   Plaintiffs will fairly and adequately assert and protect the interests of the
 20 Class. Plaintiffs have retained counsel who are experienced in class action litigation.
 21 Plaintiffs have no interests that conflict with those of the Class. Plaintiffs and their
 22 attorneys have adequate financial resources to assure that the interests of the Class
 23 will not be harmed.
 24         71.   Prosecuting separate actions by individual Class members would create
 25 a risk of inconsistent or varying adjudications with respect to individual Class
 26 members that would establish incompatible standards of conduct for the Defendants.
 27
 28
                                           - 10 -
                                  CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.12 Page 12 of 16




  1          72.   Defendants have acted or refused to act on grounds that apply generally
  2 to the Class, so that final declaratory relief is appropriate respecting the Class as a
  3 whole.
  4          73.   A class action is superior to other available methods for the fair and
  5 efficient adjudication of this controversy because:
  6                a)     Common questions of law and fact predominate over any question
  7          affecting only individual Class members as discussed above;
  8                b)     The potential interest of Class members in individually controlling
  9          the prosecution of separate actions is negligible because this action seeks the
 10          same relief that would be sought in separate actions;
 11                c)     It is desirable to concentrate the litigation of Class members’
 12          claims in this forum because, based on information and belief, Defendants’
 13          transact business with numerous insureds in this District; and
 14                d)     Managing Class members’ claims as a class action will not present
 15          any particular difficulties, on the contrary, managing Class members’ claims as
 16          a class action will provide significant efficiencies due to the predominance of
 17          common questions of law and fact.
 18                                         COUNT I
 19                               BREACH OF CONTRACT
 20          74.   Plaintiffs repeat and reallege the allegations set forth above as though
 21 fully set forth herein. This claim is asserted against all Defendants on behalf of the
 22 Class.
 23          75.   Plaintiffs and the Class entered into contractual insurance policies with
 24 Defendants for business income coverage, extra expense coverage, and civil authority
 25 coverage.
 26          76.   Plaintiffs and the Class have paid all required premiums and otherwise
 27 performed all obligations under their insurance policies.
 28
                                         - 11 -
                                CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.13 Page 13 of 16




  1          77.   Defendants have breached the terms of these insurance policies by
  2 refusing to pay claims for covered losses arising from the COVID-19 pandemic and
  3 the related government-issued closure orders.
  4          78.   Plaintiffs and the Class were damaged by Defendants’ breach of contract.
  5                                        COUNT II
  6       BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
  7          79.   Plaintiffs repeat and reallege the allegations set forth above as though
  8 fully set forth herein. This claim is asserted against all Defendants on behalf of the
  9 Class.
 10          80.   Plaintiffs and the Class entered into contractual insurance policies with
 11 Defendants for business income coverage, extra expense coverage, and civil authority
 12 coverage.
 13          81.   Every contract imposes upon each party a duty of good faith and fair
 14 dealing in the contract’s performance.
 15          82.   Plaintiffs and the Class have performed under the insurance policies in
 16 good faith at all relevant times.
 17          83.   Defendants have breached the covenant of good faith and fair dealing
 18 implied in their insurance policies by evading the spirit of those policies in order to
 19 deny coverage to Plaintiffs and the Class for covered losses arising from the COVID-
 20 19 pandemic and the related government-issued closure orders.
 21          84.   Plaintiffs and the Class were damaged by Defendants’ breach of the
 22 covenant of good faith and fair dealing.
 23                                       COUNT III
 24                          UNFAIR BUSINESS PRACTICES
 25          85.   Plaintiffs repeat and reallege the allegations set forth above as though
 26 fully set forth herein. This claim is asserted against all Defendants on behalf of the
 27 California Sub-Class.
 28
                                         - 12 -
                                CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.14 Page 14 of 16




  1          86.   Defendants’ actions alleged herein constitute unfair, unlawful, and
  2 fraudulent business acts and practices pursuant to California Business and Professions
  3 Code § 17200, et seq.
  4          87.   Defendants’ unlawful actions include, inter alia, wrongfully denying
  5 coverage for losses that should be covered under the terms of Defendants’ insurance
  6 policies.
  7          88.   Defendants’ unfair actions include, inter alia, engaging in conduct that is
  8 immoral, unethical, oppressive, unscrupulous, and substantially injurious, such that
  9 the harm to Plaintiffs and the California Sub-Class outweighs any utility of such
 10 conduct.
 11          89.   Defendants’ fraudulent actions include, inter alia, accepting premiums
 12 without intending to extend coverage under the terms of their insurance policies.
 13          90.   Plaintiffs and the California Sub-Class were damaged by Defendants’
 14 unfair, unlawful, and fraudulent business acts and practices.
 15                                        COUNT IV
 16                               DECLARATORY RELIEF
 17          91.   Plaintiffs repeat and reallege the allegations set forth above as though
 18 fully set forth herein. This claim is asserted against all Defendants on behalf of the
 19 Class.
 20          92.   Pursuant to 28 U.S.C. § 2201 an actual controversy exists between
 21 Plaintiffs and the Class on the one hand, and Defendants on the other hand, as to the
 22 correct interpretation of their insurance policies.
 23          93.   Plaintiffs seek a declaration that losses suffered relating to the COVID-
 24 19 pandemic and related government closure orders give rise to compensable covered
 25 losses under the terms of their business income coverage, extra expense coverage, and
 26 civil authority coverage.
 27
 28
                                         - 13 -
                                CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.15 Page 15 of 16




  1                                 PRAYER FOR RELIEF
  2        WHEREFORE, Plaintiffs, on their own behalf and on behalf of the Class pray
  3 for judgment as follows:
  4              (a)     Declaring this action to be a class action pursuant to Rule 23 of
  5        the Federal Rules of Civil Procedure on behalf of the Class and the California
  6        Sub-Class as defined herein;
  7              (b)     Awarding Plaintiffs and the members of the Class compensatory
  8        damages in an amount which may be proven at trial;
  9              (c)     Awarding Plaintiff and the members of the Class pre-judgment
 10        and post-judgment interest, as well as their reasonable attorneys’ fees, experts’
 11        fees, and other costs;
 12              (d)     Declaring that losses suffered relating to the COVID-19 pandemic
 13        and related government closure orders give rise to compensable covered losses
 14        under the terms of Class members’ business income coverage, extra expense
 15        coverage, and civil authority coverage; and
 16              (e)     Awarding such other and further relief as this Court may deem just
 17        and proper.
 18                                   JURY DEMAND
 19        Plaintiffs hereby demand a trial by jury.
 20
 21 Dated: May 26, 2020                     GLANCY PRONGAY & MURRAY LLP
 22
                                            By: /s/ Kevin F. Ruf
 23                                         Kevin F. Ruf (136901)
                                            1925 Century Park East, Suite 2100
 24
                                            Los Angeles, California 90067
 25                                         Telephone: (310) 201-9150
                                            Facsimile: (310) 201-9160
 26
                                            Email: info@glancylaw.com
 27
 28
                                        - 14 -
                               CLASS ACTION COMPLAINT
Case 3:20-cv-00972-AJB-BLM Document 1 Filed 05/26/20 PageID.16 Page 16 of 16




  1                                    GLANCY PRONGAY & MURRAY LLP
                                       Lee Albert (pro hac vice forthcoming)
  2
                                       Garth Spencer (pro hac vice forthcoming)
  3                                    230 Park Avenue, Suite 530
                                       New York, New York 10169
  4
                                       Telephone: (212) 682-5340
  5                                    Facsimile: (212) 884-0988
                                       Email: lalbert@glancylaw.com
  6
                                       Email: gspencer@glancylaw.com
  7
                                       Attorneys for Plaintiffs Park 101 LLC
  8
                                       and Louisiana Purchase LLC
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                     - 15 -
                            CLASS ACTION COMPLAINT
